           Case 1:20-vv-00595-UNJ Document 32 Filed 12/01/21 Page 1 of 5




    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 20-0595V
                                          UNPUBLISHED


    JENNIFER AYLOR,                                             Chief Special Master Corcoran

                         Petitioner,                            Filed: October 26, 2021
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Shoulder
                                                                Injury Related to Vaccine
                         Respondent.                            Administration (SIRVA)


Leigh Finfer, Muller Brazil, LLP, Dresher, PA, for Petitioner.

Alexa Roggenkamp, U.S. Department of Justice, Washington, DC, for Respondent.


                                 DECISION AWARDING DAMAGES 1

      On May 13, 2020, Jennifer Aylor filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a left shoulder injury related to vaccine
administration (SIRVA) in her left shoulder as a result of an influenza (“flu”) vaccine
administered on November 14, 2018. Petition at 1. The case was assigned to the Special
Processing Unit of the Office of Special Masters.

        On September 8, 2021, a ruling on entitlement was issued, finding Petitioner
entitled to compensation for a left SIRVA. ECF 23. On October 26, 2021, Respondent
filed a proffer on award of compensation (“Proffer”) indicating Petitioner should be
awarded $57,846.81. Proffer at 2.


1
   Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
          Case 1:20-vv-00595-UNJ Document 32 Filed 12/01/21 Page 2 of 5



      This consists of an award of $57,500.00 in actual pain and suffering and an award
of $346.81 in past unreimbursable expenses. Id. at 1-2.

       In the Proffer, Respondent further represented that Petitioner agrees with the
proffered award. Id. Based on the record as a whole, I find that Petitioner is entitled to an
award as stated in the Proffer.

      Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $57,846.81 in the form of a check payable to Petitioner. This amount
represents compensation for all damages that would be available under Section 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision. 3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                    2
         Case 1:20-vv-00595-UNJ Document 32 Filed 12/01/21 Page 3 of 5




               IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                         OFFICE OF SPECIAL MASTERS


 JENNIFER AYLOR,

                Petitioner,                            No. 20-595V
                                                       Chief Special Master Corcoran
 v.                                                    ECF

 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                Respondent.


            RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On May 13, 2020, Jennifer Aylor (“petitioner”), filed a Petition for compensation under

the National Childhood Vaccine Injury Act of 1986, as amended (“the Vaccine Act” or “the

Act”), 42 U.S.C. §§ 300aa-1 to -34, alleging that she suffered a shoulder injury related to vaccine

administration (“SIRVA”) in her left shoulder as a result of an influenza (“flu”) vaccine

administered on November 14, 2018. Petition at 1. On September 8, 2021, the Secretary of

Health and Human Services (“respondent”) filed a Rule 4(c) Report indicating that this case is

appropriate for compensation under the terms of the Act, and the Chief Special Master issued a

Ruling on Entitlement finding petitioner entitled to compensation. ECF No. 22; ECF No. 23.

I.     Items of Compensation

       A.      Pain and Suffering

       Respondent proffers that petitioner should be awarded $57,500.00 in actual pain and

suffering. See 42 U.S.C. § 300aa-15(a)(4). Petitioner agrees.
            Case 1:20-vv-00595-UNJ Document 32 Filed 12/01/21 Page 4 of 5



       B.       Past Unreimbursable Expenses

       Evidence supplied by petitioner documents that she incurred past unreimbursable

expenses related to her vaccine-related injury. Respondent proffers that petitioner should be

awarded past unreimbursable expenses in the amount of $346.81. See 42 U.S.C. § 300aa-

15(a)(1)(B). Petitioner agrees.

       The above amounts represent all elements of compensation to which petitioner would be

entitled under 42 U.S.C. § 300aa-15(a). Petitioner agrees.

II.    Form of the Award

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that the compensation provided to petitioner be made through a lump

sum payment as described below:

       A lump sum payment of $57,846.81, in the form of a check payable to petitioner,

       Jennifer Aylor.

                                                    Respectfully submitted,

                                                    BRIAN M. BOYNTON
                                                    Acting Assistant Attorney General

                                                    C. SALVATORE D’ALESSIO
                                                    Acting Director
                                                    Torts Branch, Civil Division

                                                    HEATHER L. PEARLMAN
                                                    Deputy Director
                                                    Torts Branch, Civil Division

                                                    DARRYL R. WISHARD
                                                    Assistant Director
                                                    Torts Branch, Civil Division




                                                2
        Case 1:20-vv-00595-UNJ Document 32 Filed 12/01/21 Page 5 of 5



                                          /s/ Alexa Roggenkamp
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DATED: October 26, 2021




                                      3
